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EXHIBIT A

46429/0001-7520103v!
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Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

ASM CAPITAL III, L.P. (TRANSFEROR: CREATORS SYNDICATE)
DACA 2010L, LP (TRANSFEROR: WOOD BROS AIR COMPRESSORS LLC)
DACA 2010L, LP (TRANSFEROR: REDICARE CO.}

ASM CAPITAL III, L.P. (TRANSFEROR: CREATORS SYNDICATE)
ASM CAPITAL, L.P, (TRANSFEROR: ONLINE RESOURCES (FKA)
DACA 2010L, LP (TRANSFEROR: M H § ALUMNI ASSOCIATION)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: DEARMAN MARIA)

ASM CAPITAL If], L.P. (TRANSFEROR: SHEA JR, JAMES T)

ASM CAPITAL, L.P, (TRANSFEROR: BITWISE INC)

ASM CAPITAL, L.P. (TRANSFEROR: LEMBACH, DAYLE)

ASM CAPITAL, L.P, (TRANSFEROR: IMPERIAL RUBBER PRODUCTS INC)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR; BETA BREAKERS)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: INVESTORPLACE MEDIA LLC)
DACA 2010L, LP (TRANSFEROR: AAA FLAG & BANNER MFG CO INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: SHIELD SECURITY, INC.)
ASM CAPITAL, L.P. (TRANSFEROR: BROADCAST SUPPLY WORLDWIDE)
DACA 2010L, LP (TRANSFEROR: LOST AND SOUND INC}

ASM CAPITAL II], L.P. (TRANSFEROR: DEBMAR-MERCURY LLC)

ASM CAPITAL, L.P. (TRANSFEROR: SIERRA PACIFIC FLEET SERVICE)
ASM CAPITAL, L.P. (TRANSFEROR: NEW DIRECTION SERVICES)

ASM CAPITAL _

ASM CAPITAL III, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)

ASM CAPITAL III, L.P. (TRANSFEROR: PRISM RETAIL SERVICES)

ASM CAPITAL III, L.P. (TRANSFEROR: RAVENSWOOD SPECIAL EVENTS IN)
ASM CAPITAL III, L.P. (TRANSFEROR: ABM JANITORIAL)

ASM CAPITAL II, L.P. {TRANSFEROR: CHICAGO COMMUNICATIONS)
ASM CAPITAL, L.P. (TRANSFEROR: WHEELBASE COMMUNICATIONS LTD)
_ASM CAPITAL, L.P. (TRANSFEROR: MINDZOO LLC)

ASM CAPITAL, L.P, (TRANSFEROR: VER-A-FAST CORPORATION)

ASM CAPITAL, L.P. (TRANSFEROR: FROST LIGHTING CO)

ASM CAPITAL, L.P, (TRANSFEROR: GALAXY | COMMUNICATIONS LLC}
ASM CAPITAL, L.P. (TRANSFEROR: ROSE PAVING COMPANY)

ASM CAPITAL, L.P. (TRANSFEROR: NEWSBAG INC)

ASM CAPITAL, L.P. (TRANSFEROR: TARGETCOM LLC)

ASM CAPITAL, L.P. (TRANSFEROR: BITWISE INC)

ASM CAPITAL, L.P. (TRANSFEROR: DKP & ASSOCIATES INC)

ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)

ASM CAPITAL, L.P. (TRANSFEROR: MERCHANTS CREDIT GUIDE}

ASM CAPITAL, L.P. (TRANSFEROR: CREATIVE CIR.ADV.SOLUTIONS)

ASM CAPITAL, L.P. (TRANSFEROR: TBA GLOBAL LLC)

ASM CAPITAL, L.P. (TRANSFEROR: FLOORING RESOURCES CORP)

ASM CAPITAL, L.P, (TRANSFEROR: ACE SANDBLASTING COMPANY)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: JONES LANG LASALLE)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: MERKLE INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ENTICENT, INC}
DACA 2010L, LP (TRANSFEROR: ASSOCIATED INSURANCE PLAN)

DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)

DACA 2010L, LP (TRANSFEROR: ORLAND TOWNSHIP)

DACA 2010L, LP (TRANSFEROR: PRAIRIE DISTRICT LOFTS}

DACA 2010L, LP (TRANSFEROR: MILLENIUM PARK LIVING)

DACA 2010L, LP (TRANSFEROR: ARAMARK REFRESHMENT SERVICES}

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Plan Class

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Ballot

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2,700.00
1,219.52
1,984.09
1,000.00
169.95
21,980.84
4,103.61
150.00
7,716.01
1,996.31
1,784.07
16,155.66
21,763.67
27,705,20
6,500.00
3,587.87
3,890.15
1,701.00
4,992.69
6,710.55
6,014.00
5,355.53
23,485,00
7,378.29
3,000.00
31,700.00
12,807.26
1,599.30
10,494.28
4,803.92
9,150.00
3,579.00
3,772.50
230,919.50
24,125.00
14,000.00
640.00
330.43
250.00
486.00
842,00

313.49
* Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 3of12

Exhibit A
TRIBUNE COMPANY, et al.

_ Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: DETROIT FRE PRESS)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: INFORMS INC)

DEBT ACQUISITION COMPANY OF AMERICA V (FRANSFEROR: MOODY BIBLE INSTITUTE}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GLEN BROOK HIGH
SCHOOL #225) .

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: KELLER-HEARTT COMPANY, INC.)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: INTOUCH SOLUTIONS)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: DEARBORN WHOLESALE GROCERS L)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: PRIM HALL ENTERPRISES, INC.)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: EMBARKMEDIA)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: SYNERGY LAW GROUP LLC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BLUE SKY MARKETING GROUP LTD)
ASM CAPITAL, L.P. (TRANSFEROR: CREATIVE CIR.ADV.SOLUTIONS)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: CAMBOTICS INC}
DACA 2010L, LP (TRANSFEROR: ARAMARK CORPORATION)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: C2MEDIA.COM INC)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: IMAGIC INC)
DACA 2010L, LP (TRANSFEROR: ARAMARK CORPORATION)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CHICAGO ASSOC OF
REALTORS}

LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: INTERNATIONAL DEMOGRAPHICS)

DACA 2010L, LP (TRANSFEROR: WEIDEL REALTORS)

DACA 2010L, LP (TRANSFEROR: PPQUE & ASSOCIATES)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR:EFLAT FEE REALTY ASSOC
REALTY)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: ACCU-GLO ELECTRIC OF N.Y.)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MEDIASHOP PR INC)

DACA 2010L, LP (TRANSFEROR: HILLEL DAY SCH OF BOCA)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BUSINESS CARDS
TOMORROW)

ASM CAPITAL, L.P. (TRANSFEROR: WILEN PRESS)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: RITTER'S PRINTING)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:PRINTING CORP OF THE
AMERICAS)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ON DEMAND ENVELOPE
LLC)

DACA 2010L, LP (TRANSFEROR: WESTERN HIGH SCHOOL)

DACA 2010L, LP (TRANSFEROR: 213EJ LLC)

DACA 2010L, LP {TRANSFEROR: DABBAH, MARIELA C)

ASM CAPITAL III, L.P, (TRANSFEROR: WESTWOCD ONE INC)

ASM CAPITAL III, L.P. (TRANSFEROR: DEBMAR-MERCURY LLC)

ASM CAPITAL, L.P. (TRANSFEROR: STANDARD MECHANICAL SYSTEMS)
LONGACRE OPPORTUNITY FUND, L.P.

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: EVERTZ MICROSYSTEMS,
LTD.

DEST ACQU ISITION COMPANY OF AMERICA ¥V (TRANSFEROR; AIRTIME AMUSEMENTS
INC)

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Ballot

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3,867.57
35,837.50
49,818.50
259.85
2,327.45
1,760,00
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1,225.00
350.00
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200.00
3,500.00
1,532.26

610.46

466.00
71,898.19
26,347.67

6,350.00

17,536.00

500.00
741.52
400.00
13,267.65
33,758.07
1,791.17
24,214,99
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Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 4 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, In¢., and Fair Harber Capital

Name

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: E2V TECHNOLOGIES INC)
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: RIVERFRONT TIMES LLC)

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL III, L.P, (TRANSFEROR: JTD CONSULTING, INC.)

ASM CAPITAL, L.P. (TRANSFEROR: HABITAT CONTRACTING)

ASM CAPITAL, L.P. (TRANSFEROR: PACIFIC RADIO ELECTRONICS)

ASM CAPITAL, L.P. (TRANSFEROR: CALIFORNIA COMMERCIAL CLEANI)
ASM CAPITAL, L.P. (TRANSFEROR: NORMAN HECHT RESEARCH INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR; INSTADIUM INC)
ASM CAPITAL III, L.P. (TRANSFEROR: LOS ANGELES CLIPPERS)

ASM CAPITAL IIL, L.P. (TRANSFEROR: QUASARANO, JOE)

ASM CAPITAL II], L.P, (TRANSFEROR: HOLDEN PRODUCTION GROUP)
ASM CAPITAL, L.P. (TRANSFEROR: POITRAS, STEVEN SCOTT)

ASM CAPITAL, L.P. (TRANSFEROR: GAME CREEK VIDEO)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: INSTADIUM INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: E2V TECHNOLOGIES INC)
LONGACRE OPPORTUNITY FUND, L.P. (FRANSFEROR: HELINET AVIATION
SERVICES LL)

DACA 2010L, LP (TRANSFEROR: LIMOUSINE CONNECTION INC)

DACA 2010L, LP (TRANSFEROR: SOUTHERN COUNTIES NEWS SVC.)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: JOSHUA MORTON
PRODUCTIONS)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GREENSCAPES, INC.)
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: KLIAN, JACK)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR:; ADMINISTRATIVE SERV CO OP)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: NICKEY PETROLEUM CO)

FAIR HARBOR CAPITAL, LLC (FRANSFEROR:.ACADEMY OF TELEVISION ARTS &)

ASM CAPITAL

ASM CAPITAL III, L.P. (TRANSFEROR: SOTSKY, LAURENCE)

ASM CAPITAL III, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)

ASM CAPITAL II], L.P. (TRANSFEROR: PENN INDUSTRIES, INC.)

ASM CAPITAL II, L.P. (TRANSFEROR:BRANDOW & JOHNSTON ASSOCIATES)
ASM CAPITAL, L.P. (TRANSFEROR: MERCHANTS CREDIT GUIDE)

ASM CAPITAL, L.P. (TRANSFEROR: GLUNZ & JENSEN K & F INC)

ASM CAPITAL, L.P. (TRANSFEROR: SAS-ROI RETAIL MERCHANDISING)

ASM CAPITAL, L.P. (TRANSFEROR: CPODM PROFESSIONALS LP)
ASM CAPITAL, L.P. (TRANSFEROR: CALIFORNIA OFFSET PRINTERS,)
ASM CAPITAL, L.P. (TRANSFEROR: CULINART INC)
ASM CAPITAL, L.P. (TRANSFEROR: 23252 VIA CAMPO VERDE LLC)

_ ASM CAPITAL, L.P. (TRANSFEROR: CA WALKER)
ASM CAPITAL, L.P. (TRANSFEROR: CROWN PRINTERS)
ASM CAPITAL, L..P, (TRANSFEROR: IMPERIAL RUBBER PRODUCTS INC)
ASM CAPITAL, L.P. (TRANSFEROR: ONLINE RESOURCES CORPORATION)
ASM CAPITAL, L.P. (TRANSFEROR: ACCENT ENERGY GALIFORNIA)
ASM CAPITAL, L.P. (TRANSFEROR: DKP & ASSOCIATES INC)
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR: LUCAS GROUP)
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR: EVENTWORKS INC)
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR: TOWNE INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: MISI COMPANY LTD)

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258,681.17
11,414.50
11,290.32
2,509.06
9,630.00
15,000.00
3,138.17
283,590.98

174.88
300.00

1,722.20

356.60
1,575.00
1,017.68
1,289.23

1,950.00
14,531.70
108,461,354
30,510.70
789,94 1,65
16,737.19
6,227.15
3,422.70
3,139.00

12,084.12
126,367.58
97,843.59
870,051.04
57,000.00
5,854.67
2,684.50
22,210.39
30,253.20
5,750.00
30,000.00
30,617.75
19,158.34
15,980.00
~ Case 08-13141-BLS Doc 8602-2. Filed 04/07/11 Page 5 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Bailot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD. (TRANSFEROR: TRG
CUSTOMER SOLUTIONS)
DACA 2010L, LP (TRANSFEROR: FIVE CONTINENTS MUSIC INC)

DACA 2010L, LP (TRANSFEROR: FLINTRIDGE PARK INC)

DACA 2010L, LP (TRANSFEROR: ABM SECURITY)

DACA 2010L, LP (TRANSPFEROR: WESTERN AMERICAN DEVELOPMENT)
DACA 2010L, LP (TRANSFEROR: ALPINE CREATIVE)

DACA 2010L, LP (TRANSFEROR: G2 DIRECT & DIGITAL)

DACA 2010L, LP (TRANSFEROR; FRS ENVIRONMENTAL INC)
DACA 2610L, LP (TRANSFEROR: COURTHOUSE NEWS SERVICE)
DACA 2010L, LP (TRANSFEROR: WESTERN STATE UNIVERSITY)
DACA 2010L, LP (TRANSFEROR: PRESS PHOTOGRAPHERS ASSOC.)
DACA 2010L, LP (TRANSFEROR: NEWPORT-MESA SCHOOLS)
DACA 2010L, LP (TRANSFEROR: SCALE FX INC)

DACA 2010L, LP (TRANSFEROR: VETERINARY CANCER GROUP)
DACA 2010L, LP (TRANSFEROR: G2 DIRECT & DIGITAL (LAT)
DACA 2010L, LP (TRANSFEROR: THE NATIONAL ARTS CLUB)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GLENRIDGE CENTER) .
DEBT ACQLHSITION COMPANY OF AMERICA ¥ (TRANSFEROR; EXECUTIVE TAILORED
CLOTHIER)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ACCESS MEDIA GROUP)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ARAMARK REFRESHMENT
SERVICES)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CLEAR CHOICE MAGAZINE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: R T ENTERPRISES)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: AIRGAS DRY ICE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: MONTEBELLO
ORTHOPEDIC)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BRYMAN COLLEGE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ORANGE COUNTY
NAMEPLATE CO.)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: F HAUTER)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: WEST, CHRISTIANSON)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: CITY OF RIVERSIDE PUBLIC}
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: INTOUCH SOLUTIONS)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTI AD SERVICES)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: ICON EXPOSURE INC}

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: KAESER AND BLAIR INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: CUSTOMER ACTIVATION PROGRAMS)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: COPYNET OFFICE SOLUTIONS INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: MAINLINE INFORMATION SYSTEMS)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: ENVIRONMENTAL RECOVERY SERVI

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Plan Class
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207,39
740.00
315.00
275.00
23,460.27
204.45
900,00
2,255.75
250.00
2,000.00
350,00
735.00
9,827.70
1,500.00

760.00
375.00
_ 187.30
373.23
375.00
7,739.31
252,00
1,030,00
385.00

241.73
196.77
6,564.52
1,494.45
1,342.09
356,79
1,122.56
2,740.47

2,877.00
3,436.86

972.26

8,718.72
Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 6 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: A CORPORATION FOR ARTS & COM)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: COASTAL BUILDING SER VICES)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: STEVE BRODNER ILLUSTRATIONS)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: CASPIO INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: TELESOFT CORP)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: QUESTUS INC)

DACA 2010L, LP (TRANSFEROR: BRAINARD CAFE)

ASM CAPITAL Ill, L.P. (TRANSFEROR: NATIONAL COMMUNICATIONS)
ASM CAPITAL It, L.P. (TRANSFEROR: ORLANDO UTILITIES COMMISSION)
ASM CAPITAL HI, L.P. (TRANSFEROR: CREATORS SYNDICATE}

ASM CAPITAL JH, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: ROBERTS COMMUNICATIONS)

ASM CAPITAL, L.P. (TRANSFEROR: VER-A-FAST CORPORATION)

ASM CAPITAL, L.P. (TRANSFEROR: MOBILE HEALTH SOLUTIONS INC)
ASM CAPITAL, L.P. (TRANSFEROR: WHEELBASE COMMUNICATIONS LTD)
ASM CAPITAL, L.P. (TRANSFEROR: BENTLEY MOTORS, INC)

ASM CAPITAL, L.P. (TRANSFEROR: RHINO SHIELD)

ASM CAPITAL, L.P. (TRANSFEROR: MASON-DIXON POLLING & RESEAR)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: GOALGETTERS INC)

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD. (TRANSFEROR: ANOCGIL
CORPORATION) - .
DACA 2010L, LP (TRANSFEROR: HOLIDAY INN CALDER PRO PLYR}

DACA 2010L, LP (TRANSFEROR:; PERMONT DEVELOPMENT)

DACA 2010L, LP (TRANSFEROR: WATERFORD LAKES TOWN CENTER)
DACA 2010L, LP (TRANSFEROR: ANSON STONER INC)

DACA 2010L, LP (TRANSFEROR: COMP-AIR SERVICE COMPANY)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: MYMEDIAWORKS .COM)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: FMP DIRECT INC)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: COMPASS RESEARCH}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: FLORIDA HOMES &
PROPERTIES)

DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR: AAA STAFFING)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: R H MILLER PEST SERVICES INC)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: LS SIMS & ASSOCIATES INC)
ASM CAPITAL IIE, L.P. (TRANSFEROR: IPC PRINT SERVICES)

DACA 2010L, LP (TRANSFEROR: AT THE HOP)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TAKE ONE)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TRAYPML INC)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: APS HEALTHCARE BETHESDA)
DACA 2010L, LP (TRANSFEROR: FINOCCHIO BROTHERS CARTING)

DACA 2010L, LP (TRANSFEROR: BERMAN NEWS SERVICE LP)

DACA 2010L, LP (TRANSFEROR: ALL AMERICAN SEWER & DRAIN)

DACA 2010L, LP (TRANSFEROR: BLYNN)

DACA 2010L, LP (TRANSFEROR: BARTEK, RITA ALEXANDRA)

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4874
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9,909.49
2,461.22
14,843.30
2,430.00
1,397.81
2,719.64
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2,740.50
2,303.75
11,345.36

201.14
1,373.32
626.47
204.85
£194.72

1,465.70
235,95
512,43

845.00
195.96
1,307.65
2,051.70
149,305.86
313.65
4,724.70
4,663.95
5,445.00
882.04
530.00
300.51
155.48
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Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 7 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: C. L. FIELDS)
DACA 20I0L, LP (TRANSFEROR: MATHEWS BOOK STORE)

DACA 2010L, LP (TRANSFEROR: LEDERS JEWELERS)

DACA 2010L, LP (TRANSFEROR: CAR VEL)

DACA 2010L, LP (TRANSFEROR: WEST END PIZZA}

DACA 2010L, LP (TRANSFEROR: JAN/HUNTINGTON STATION)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: LE FRENCH CLEANERS)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: M & J TRUCKING
ENTERPRISES)

ASM CAPITAL

ASM CAPITAL IIL, L.P. (TRANSFEROR: NATIONAL COMMUNICATIONS)
ASM CAPITAL III, L.P. (TRANSFEROR: CREATORS SYNDICATE}

ASM CAPITAL IIL, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: CLEANALL COMMERCIAL CLEANING)
ASM CAPITAL, L.P. (TRANSFEROR: THOMSON PROMOTIONS INC)

ASM CAPITAL, L.P. (TRANSFEROR: CENTRAL ADDRESS SYSTEMS INC)
ASM CAPITAL, L.P. (TRANSFEROR: LIME MEDIA GROUP, INC.)

ASM CAPITAL, L.P. (TRANSFEROR: BANKRATE INC)

ASM CAPITAL, L.P. (TRANSFEROR: TRANSHIRE)

ASM CAPITAL, L.P. (TRANSFEROR: ANGSTROM GRAPHICS, INC.}
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR: ANOCOIL CORPORATION)

LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR:PRINTING CORP OF THE

AMERICAS)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: GOALGETTERS INC)

DACA 2010L, LP (TRANSFEROR: TECHNICAL SERVICE SOURCE INC)
DACA 2010L, LP (TRANSFEROR: AKADEMIC FOUNDATION INC)
DACA 2010L, LP (TRANSFEROR: REVGEN CONSULTING LLC)

DACA 2010L, LP (TRANSFEROR: BIG CITY TAYREN)

DACA 2010L, LP (TRANSFEROR: BAGEL TREE)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: J&B WINDOW CLEANING
SERVICE)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR; CHARTWELLS /DAKA}
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: COFFEE SUPPLIES AND
BEVERAGE)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: RANGER CONSTRUCTION)

LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: GMPCS PERSONAL COMMUNICATION)
FAIR HARBOR CAPITAL, LLC (FRANSFEROR: CITY OF DEERFIELD BEACH)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: PERM A CARE)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: CONSOLIDATED LABEL CO)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: DOGHAUS DESIGN INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: GORDON HARGROVE & JAMES PA}
ASM CAPITAL

ASM CAPITAL III, L.P. (TRANSFEROR: WESTWOOD ONE INC)

ASM CAPITAL III, L.P. (FRANSFEROR: CREATORS SYNDICATE)

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9,335.67
8,413.32
3,946.83
13,855.48
5,000.00
2,893.55
1,587.25
78,467.61
12,834.48

14,176.97

15,477.79
503.50
200.00

3,900.00
474,43
350.00

191.70
239.45
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985.75

1,932.45
12,022.74 —
1,120.69
3,928.05
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23,780.16
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Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 8 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

ASM CAPITAL III, L.P. (TRANSFEROR: PEPCO ENERGY SERVICES, INC.}
ASM CAPITAL Ill, L-P. (TRANSFEROR: KING FEATURES SYNDICATE}
ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)

ASM CAPITAL, L.P. (TRANSFEROR: DKP & ASSOCIATES INC}

DACA 2010L, LP (TRANSFEROR: § K I SUPPLY KIT)

DACA 2010L, LP (TRANSFEROR: BONEFISH GRILL}

DACA 20106L, LP (TRANSFEROR: BRIDGESTREET CORPORATE)

DACA 2010L, LP (TRANSFEROR: IMAGINE SCHOOLS)

DACA 2010L, LP (TRANSFEROR: DONER DIRECT)

DACA 2010L, LP (TRANSFEROR: NAIMA SAID & ASSOCIATES PC)

DACA 2010L, LP (TRANSFEROR: RIPARIUS CONSTRUCTION)

DACA 2010L, LP (TRANSFEROR: M BURKE DELANEY DMD)

DACA 2010L, LP (TRANSFEROR: SHORE LEAVE CONVENTION)

DACA 2010L, LP (TRANSFEROR: RYAN HOMES)

DACA 2010L, LP (TRANSFEROR: GERSTELL ACADEMY)

DACA 2010L, LP (TRANSFEROR: AERO TRANSCRIPTIONS)

DACA 2010L, LP (TRANSFEROR:MARYLAND AUTO DEALERS SVC INC)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CHIPS AUTOMOTIVE)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BEREAN BAPTIST CHURCH)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: PRINT RESOURCE GROUP)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTIAD SERVICES INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BEAL INDUSTRIAL PRODUCTS):
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: OWL CORPORATION)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: OFFIT KURMAN, P.A.)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BRICKMAN GROUP LTD)

ASM CAPITAL III, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)
ASM CAPITAL II], L.P. (TRANSFEROR: CREATORS SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: VER-A-FAST CORPORATION)

ASM CAPITAL, L.P. (TRANSFEROR: ONLINE RESOURCES CORPORATION)

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD (TRANSFEROR: PENINSULA
UNITED WAY}
DACA 2010L, LP (TRANSFEROR: MERRIT PRESS INC)

DACA 20160L, LP (TRANSFEROR: BON SECOURS EMPLOYEE)
DACA 2010L, LP (TRANSFEROR:; PRESCIENT APPLIED)

DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)
DACA 2010L, LP (TRANSFEROR: HEADWAY CORPORATE ST)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: OUTBACK STEAKHOUSE)
ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL IIL L.P. (TRANSFEROR: KING FEATURES SYNDICATE)

ASM CAPITAL HII, L.P. (PRANSFEROR: CREATORS SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)

ASM CAPITAL, L.P. (TRANSFEROR: PAINTING AND DECORATING INC)

ASM CAPITAL, L.P, (TRANSFEROR: CONNECTICUT DAILY NEWSPAPER)

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446.00
430.44
653.77
714.48
677.60
$00.00

155.80

250.00
6,610.54
2,526.78

$82.81

975,00
3,888.50
7,569.23

2,410.20
263.79
4,779.52
100.00
30,000.00

3,442.65
152.42
250.00
161.41
2,795.43

1,419,00
28,273.50
69,979.82

9,920.12
482.19
854.03

3,740.00

7,161.11
Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 9 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

ASM CAPITAL, L.P. (TRANSFEROR: ADFARE.COM INC)
ASM CAPITAL, L.P. (TRANSFEROR: VER-A-FAST CORPORATION)
ASM CAPITAL, L.P. (TRANSFEROR: COMMUNICATION RESEARCH)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR;: DACOR INSTALLATION

SERVICES)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: TELE REACH INC)

DACA 2010L, LP (TRANSFEROR: SKILLCRAFT MACHINE)

DACA 2010L, LP (TRANSFEROR: HAITIAN HEALTH FOUNDATION INC)
DACA 2010L, LP (TRANSFEROR: GOOD MORNING NEWS LLC)

DACA 2010L, LP (TRANSFEROR: RESPOND SYSTEMS INC)

DACA 2010L, LP (TRANSFEROR: DELTA BULK TRANSPORT}

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BRISTOL CHAMBER OF
COMMERCE)

DEBT ACQUISITION COMPANY OF AMERICA ¥ (TRANSFEROR; CONNECTICUT
AUTOMOTIVE)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GILCHRIST FEATURES)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: KIM ROSEN ILLUSTRATION)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR; LIGHTING SERVICES, INC.)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTIAD SERVICES INC)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: HISCO PUMP INC}
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: CONNECTICUT LIGHT & POWER)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: MOVING PICTURES VIDEO INC)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BRICKMAN GROUP LTD)
ASM CAPITAL
ASM CAPITAL II, L.P. (TRANSFEROR: KING FEATURES SYNDICATE)
ASM CAPITAL HI, L.P. (TRANSFEROR: CREATORS SYNDICATE)

. LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: TELE REACH INC)
DACA 2010L, LP (TRANSFEROR: MEL TAYLOR AND ASSOCIATES)
DACA 2016L, LP (TRANSFEROR: VOLUNTEER CENTER OF LEHIGH)

DACA 2010L, LP (TRANSFEROR: COMMUNITIES IN SCHOOLS)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: BROWN-DAUB
CHEVROLET)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: MULTIAD SERVICES INC)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: PREFERRED EAP)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: AIR CENTER, INC.)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: UGI UTILITIES INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: VIAMEDIA LLC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ANDREW KLEIN &
ASSOCIATES, IN)
DACA 2010L, LP (TRANSFEROR: MICHIGAN CABLE}

ASM CAPITAL III, L.P. (TRANSFEROR: SALEM MEDIA OF OREGON)
ASM CAPITAL III, L.P. (TRANSFEROR: RUN SPOT RUN MEDIA INC)
ASM CAPITAL, L.P. (TRANSFEROR: MANZI, JOHN)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ENTERCOM PORTLAND
LLC DBA KG)
ASM CAPITAL III, L.P. (TRANSFEROR: DATA SERVICE SOLUTIONS INC)

ASM CAPITAL, L.P. (TRANSFEROR: KINGSWAY LOGISTICS INC}

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328.33
1,158.94

315.00
300.00

180.57
4,000.00
1,570.41
1,412.37
1,866.50

13,310.69
5,010.20
4,444.15

6,854.04

3,375.90

395.25

10,883.00

6,854.04
320.00
1,000.00

182.46
1,062.00
1,260.00
2,653.64

33,327.85
9,986.06
32,038.46

400.00
17,680.00
9,668.80
229,738.58
35,309.50

42,252.24
13,118.41
Case 08-13141-BLS Doc 8602-2 Filed 04/07/11 Page 10 of 12

Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

ASM CAPITAL, L.P. (TRANSFEROR: UNIQUE PRODUCTS & SERVICE)
ASM CAPITAL, L.P. (TRANSFEROR: UNEQ INC}

ASM CAPITAL, L.P. (TRANSFEROR: BEDFORD MOTOR SERVICES, INC.)
ASM CAPITAL, L.P. (TRANSFEROR: DATA PARTNERS INC)

ASM CAPITAL, L.P. (TRANSFEROR: PJ GREEN INC}

ASM CAPITAL, L.P. (TRANSFEROR: ACME SCALE SYSTEMS)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: DEMAR DIRECT}
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: COMPILED SOLUTIONS)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: PGC IMAGINE GRAPHICS LLC)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: LOGICALIS)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: GBR SYSTEMS CORP}
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: NOVIAN & NOVIAN, LLP)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: WANTED TECHNOLOGIES,
INC)

LONGACRE OPPORTUNITY FUND, I..P. (TRANSFEROR: MERKLE INC)

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL III, L.P. (TRANSFEROR: CIRCLE R MEDIA LLC)

ASM CAPITAL, L.P. (TRANSFEROR: MASSACHUSETTS INSTITUTE OF)

ASM CAPITAL, L.P. (TRANSFEROR: NASHVILLE AGENCY)

ASM CAPITAL, L.P. (TRANSFEROR: LEMERY GREISLER LLC)

ASM CAPITAL, L.P. (TRANSFEROR: WENDLING PRINTING)

ASM CAPITAL, L.P. (TRANSFEROR: BARON GROUP, THE)

ASM CAPITAL, L.P. (TRANSFEROR: BADGER PRESS INC)

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD (TRANSFEROR:ADVANCED
MEDIA RESEARCH GROUP)

DACA 2010L, LP TRANSFEROR: CLANTON ADVERTISER)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ATLAS TRANSIT INC)
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: FORUM NEWS)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: ACQUIRE MEDIA VENTURES INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: SEAVE, AVA LYN)

ASM CAPITAL IIL, L.P. (TRANSFEROR: WLPA WRDZ WSJW)

ASM CAPITAL III, L.P. (TRANSFEROR: DEBMAR-MERCURY LLC)

ASM CAPITAL, L.P. (TRANSFEROR: ARENA MEDIA NETWORKS LLC)

ASM CAPITAL, L.P. (TRANSFEROR: ADMOBILE DALLAS)

ASM CAPITAL, L.P. (TRANSFEROR: DFW ADSALES INC.}

ASM CAPITAL, L.P. (TRANSFEROR: RIGGLE, JOHN)

ASM CAPITAL, L.P. (TRANSFEROR: NORMAN HECHT RESEARCH INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR; PETRUZZI DETECTIVE
AGENCY)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: EVERTZ MICROSYSTEMS
LTD.)

DACA 2010L, LP (FRANSFEROR: PHILADELPHIA ADVERTING CLUB)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: GOLD MOUNTAIN MEDIA)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: ADAMS EXTERMINATING °

OF NORTH)

DEBT ACQUISITION COMPANY OF AMERICA V {TRANSFEROR: BARBIZON LIGHT)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: SOUTHERN ADVERTISING)

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23,870.00
94,459.57
95,664.00
9,160.97
3,750.00
9,390.21
160,582.00
4,032.00
1,345.00
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229,52

320.00
150,15
1,600.00
3,104.84
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127,380.77
2,626.18
13,886.52

22,423.75
385.00
297.50
158.76

454.00
1,158.59
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Exhibit A
TRIBUNE COMPANY, et al.

Debtor/Committee/Lender Plan Bailot Detail for ASM Capital and Affiliates, Longacre Oppertunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capital

Name

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BEASLEY FM ACQUISITION CORP,)
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: MEDIA DATA SERVICES INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: VISITING NURSE & HEALTH)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: STANLEY STEEMER GREAT LAKES)
LIQUIDITY SGLUTIONS, INC. (TRANSFEROR: CITADEL BROADCASTING CORP)

ASM CAPITAL III, L.P. (TRANSFEROR: DEBMAR-MERCURY LLC}
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ENTERCOM COMM WEZB)

DACA 2010L, LP (TRANSFEROR: PALISADES MEDIA GROUP}

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: KEATING MAGEE INC)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR; CHARTER MEDIA - TN/KY)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: CITADEL BROADCASTING CORP}

ASM CAPITAL, L.P. (TRANSFEROR: NGRMAN HECHT RESEARCH INC)
ASM CAPITAL, L.P. (TRANSFEROR: PETERSON, PETER H)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: E2¥ TECHNOLOGIES INC)

ASM CAPITAL II, L.P. (TRANSFEROR: CREATORS SYNDICATE INC.)
DACA 2010L, LP (TRANSFEROR: WEST POINT STATION LLC}

DACA 2010L, LP (TRANSFEROR: HAMILTON CIRCULATION)

ASM CAPITAL, L.P. (TRANSFEROR: CRAFT PRODUCTIONS, LLC)
ASM CAPITAL, L.P. (TRANSFEROR: J] R LANDRY COMPANY LTD)
ASM CAPITAL, L.P. (TRANSFEROR: STUDIO 83 PRODUCTIONS, INC)
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: SPECIALTIES INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: KELLY GENERATOR & EQUIPMENT)

ASM CAPITAL IIL, L.P. (TRANSFEROR: WESTWCOD ONE INC)

ASM CAPITAL II], L.P. (TRANSFEROR: GENCO ENTERTAINMENT INC)

ASM CAPITAL JU, L.P. (TRANSFEROR: DEBMAR-MERCURY LLC)

ASM CAPITAL, L.P. (TRANSFEROR: CTV TELEVISION INC}

ASM CAPITAL, L.P. (TRANSFEROR: OLYMPIA ENTERTAINMENT)

ASM CAPITAL, L.P. (TRANSFEROR: COLUMBUS BLUE JACKETS)

ASM CAPITAL, L.P. (TRANSFEROR: US HELICOPTERS INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ALIEN PRODUCTIONS LLC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: MSA)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: CREATIVE MORTGAGE
USA)

DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: LAKESHORE WASTE
SERVICES LLC)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: TEXAS RANGERS BASEBALL PARTN)

LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: INTERNATIONAL DEMOGRAPHICS)
’ LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: LOCONTE.2 LLC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: BRICKMAN GROUP LTD)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: OSA INTERNATIONAL INC)

FAIR HARBOR CAPITAL, LLC (TRANSFEROR: NORPAK CORPORATION)

ASM CAPITAL .

ASM CAPITAL III, L.P. (TRANSFEROR: BOND PAINTING COMPANY INC)

ASM CAPITAL HI, L.P. (TRANSFEROR: WESTWOOD ONE INC}

ASM CAPITAL, L.P. (TRANSFEROR: KROMA PRINTING INDUSTRIES CO)

ASM CAPITAL, L.P. (TRANSFEROR: UTOG 2 WAY RADIO ASSN INC)
ASM CAPITAL, L.P. (TRANSFEROR: NEP SUPERSHOOTERS, L.P.)

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1,190.00
2,400.00
31,423.65
1,428.00
3,219.19
3,362.90
970.00
51.84
349.14
608,66
2,125.00
2,776.90
3,565.00
1,263.81

1,944.81
13,125.40
181,619.62
29,677.41
191,558.47
24,832.83
1,828.00
22,971.48
37,096.78

25,029.74
2,500.00
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12,000.00
24,625.00
640.00
2,625.00
2,275.00
2,513.82
13,611.90
73,364.52
12,452.44
20,848.69
10,253.83
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Exhibit A
TRIBUNE COMPANY, et al.

Debter/Committee/Lender Plan Ballot Detail for ASM Capital and Affiliates, Longacre Opportunity Fund, Debt
Acquisition Company of America and Affiliates, Liquidity Solutions, Inc., and Fair Harbor Capiial

Name Pian Class Ballot. Vote Amount
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DACA 2010L, LP (TRANSFEROR: ENR SERVICES INC} 110E 2087 $ 473.75
DACA 2010L, LP (TRANSFEROR: SUPREME SYSTEMS, INC.) L10E 2119 $ 796.76
DACA 2010L, LP (TRANSFEROR: CAPITOL ELEVATOR CO INC) L10E 2444 § $25.42
DEBT ACQUISITION COMPANY OF AMERICA V (TRANSFEROR: EJ ELECTRIC
INSTALLATION CO} 110E 2117 $ 2,263.95
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: REMOTE FACILITIES, INC.) L10E 4048 $ 1,350.00
FAIR HARBOR CAPITAL, LLC (TRANSFEROR: PRIME VISIBILITY LLC) TIGE 4852 4s 10,000.06
LIQUIDITY SOLUTIONS, INC, (TRANSFEROR: SEMMATERIALS LP) IF 3818 $ 12,397.22
LIQUIDITY SOLUTIONS, INC. (TRANSFEROR: SIRVA RELOCATION LLC} 1F 3821 $ 16,775.00

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